                       IN THE SUPREME COURT OF THE STATE OF NEVADA


                SANDY WHITEHOUSE, AN                                No. 65169
                INDIVIDUAL; JOHN WHITEHOUSE,
                AN INDIVIDUAL; AND S&amp;J
                INVESTMENTS, LLC, A NEVADA
                LIMITED LIABILITY COMPANY,
                Appellants,
                                                                      FILED
                VS.                                                    FEB 1 7 2016
                WELLS FARGO BANK, N.A., A
                NATIONAL ASSOCIATION; AND
                QUALITY LOAN SERVICE
                CORPORATION, A FOREIGN
                CORPORATION,
                Respondents.
                SANDY WHITEHOUSE, AN                                No. 65433
                INDIVIDUAL; JOHN WHITEHOUSE,
                AN INDIVIDUAL; AND S&amp;J
                INVESTMENTS, LLC, A NEVADA
                LIMITED LIABILITY COMPANY,
                Appellants,
                VS.
                WELLS FARGO BANK, N.A., A
                NATIONAL ASSOCIATION; FEDERAL
                NATIONAL MORTGAGE
                ASSOCIATION, A NATIONAL
                ASSOCIATION; AND QUALITY LOAN
                SERVICE CORPORATION, A FOREIGN
                CORPORATION,
                Respondents.

                      ORDER OF REVERSAL AND REMAND (DOCKET NO. 65169)
                        AND ORDER OF AFFIRMANCE (DOCKET NO. 65433)
                           These are consolidated appeals from district court orders
                granting motions to dismiss in separate but related quiet title actions.
                Eighth Judicial District Court, Clark County; Susan Johnson and Jerry A.
                Wiese, Judges.

SUPREME COURT
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     NEVADA


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                  Docket No. 65169
                              Having considered the parties' arguments and the record, we
                  conclude that the district court erred in granting respondents' motion to
                  dismiss. In SFR Investments Pool 1, LLC v. U.S. Bank, N.A.,          130 Nev.,
                  Adv. Op. 75, 334 P.3d 408 (2014), this court decided that a common-
                  interest community association's NRS 116.3116(2) superpriority lien has
                  true priority over a first security interest and that the association may
                  nonjudicially foreclose on that lien. Thus, the allegations in appellants'
                  complaint were sufficient to survive respondents' motion to dismiss for
                  failure to state a claim.    See Buzz Stew, LLC v. City of N. Las Vegas,   124
                  Nev. 224, 228, 181 P.3d 670, 672 (2008) (recognizing that NRCP 12(b)(5)
                  dismissal is appropriate "only if it appears beyond a doubt that [the
                  plaintiff] could prove no set of facts, which, if true, would entitle [the
                  plaintiff] to relief'). Because the district court did not reach the other
                  issues that were colorably asserted, we reverse the appealed judgment in
                  Docket No. 65169 and remand this matter for further proceedings.
                  Docket No. 65433
                              Having considered the parties' arguments and the record, we
                  conclude that the district court properly dismissed appellants' complaint
                  on the basis of issue preclusion. See Ruby v. Five Star Capital Corp., 124
                  Nev. 1048, 1055, 194 P.3d 709, 713 (2008). Accordingly, we affirm the
                  appealed judgment in Docket No. 65433.
                              It is so ORDERED.


                                                                         C.J.
                                              Parraguirre


                                                 J.
                  Douglas                                       Cherry
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ItW
                 cc: Hon. Susan Johnson, District Judge
                      Hon. Jerry A. Wiese, District Judge
                      Robert F. Saint-Aubin, Settlement Judge
                      Maier Gutierrez Ayon, PLLC
                      Snell &amp; Wilmer, LLP/Las Vegas
                      McCarthy &amp; Holthus, LLP/Las Vegas
                      Eighth District Court Clerk




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